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                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :    CR. NO. 1:23-CR- 110
                                         :
           v.                            :
                                         :    (Judge Kane       )
FLORENTINA MAYKO,                        :
                                         :
                  Defendant.             :    (Filed Electronically)


                         INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

At times material to this Information:

                                COUNT 1
                             18 U.S.C. § 1349
                (Conspiracy to Commit Health Care Fraud)

                               BACKGROUND

     1. The defendant, FLORENTINA MAYKO, was a resident of the

Western District of Pennsylvania.

     2. Pain Medicine of York (“PMY”) was a medical practice located

in York, PA, in the Middle District of Pennsylvania. It was founded in

or around 2000. PMY OWNER acquired PMY with an effective date in

or around 2014.
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     3. PMY was a medical practice specializing in pain management.

Under PMY OWNER’s ownership, PMY also did business under the

name All Better Wellness. PMY and All Better Wellness were providers

enrolled with Medicare.

     4. From about 2017 through 2019, a large percentage of PMY’s

patients received prescriptions for opioid medications at each visit. In

order to receive refills of their prescription opioid medications, patients

had to be seen in person by a medical provider each month.

     5. PRACTICE GROUP 1 was a group of medical practices with

locations in Altoona, Johnstown, State College, and other addresses in

Pennsylvania and Maryland. Like PMY, PRACTICE GROUP 1

specialized in pain management and prescribed a large percentage of its

patients opioid medications at each monthly visit.

     6. PHYSICIAN 1 was a physician with specialized training in

anesthesiology. PHYSICIAN 1 owned and operated PRACTICE GROUP

1 until about the middle of 2017. In or about July 2017, PHYSICIAN 1

was sentenced by a U.S. District Court to a multiyear term of

imprisonment for conspiracy to commit health care fraud and a federal

tax offense. PHYSICIAN 1 had pleaded guilty to participating in a
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fraud scheme in which PHYSICIAN 1 received kickbacks in return for

referring patients for drug testing and related laboratory work.

PHYSICIAN 1 was also sentenced in a second U.S. District Court to a

concurrent multiyear term of imprisonment for receiving illegal

kickbacks for medically unnecessary prescriptions for compounded pain

cream medications. PHYSICIAN 1 was ordered to pay more than $3

million in restitution to different agencies of the federal government for

these offenses.

     7. PMY OWNER and PHYSICIAN 1 were friends and business

associates. Around early 2017, PMY OWNER knew of PHYSICIAN 1’s

likely imprisonment and the reasons for it. All of PRACTICE GROUP

1’s operations were transitioned to PMY in 2017 as PHYSICIAN 1 was

preparing to be sentenced to prison. From this time forward, PMY

encompassed both its original location in York, PA, as well as then

remaining locations of PRACTICE GROUP 1 in Altoona, Johnstown,

State College, and elsewhere.

     8. PMY OWNER exercised control over PMY either as the direct

owner or, from June 2018 onward, through a management company

that he controlled.
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     9. FLORENTINA MAYKO became the CEO of Pain Medicine of

York in or about January 2018. Prior to that, FLORENTINA MAYKO

served as Director of Operations of PRACTICE GROUP 1, where she

was hired to work by PHYSICIAN 1. FLORENTINA MAYKO first

assumed a leadership role at PMY when PRACTICE GROUP 1’s

operations were transitioned to PMY in 2017. FLORENTINA MAYKO

had no medical training and no experience operating or managing

medical practices prior to being appointed Director of Operations of

PRACTICE GROUP 1. When FLORENTINA MAYKO was promoted to

the position of CEO of PMY, FLORENTINA MAYKO’s day-to-day

responsibilities did not materially change.

     10. From the time of FLORENTINA MAYKO’s promotion to CEO

until the time that PMY ceased operations at the end of 2019, PMY

OWNER traveled regularly to other states for lengthy periods of time,

leaving FLORENTINA MAYKO in charge of the day-to-day

management of PMY’s operations.

     11. On or about November 6, 2019, members of federal and

Commonwealth of Pennsylvania law enforcement executed search

warrants at PMY’s various locations. Following this operation, PMY
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became unable to retain medical providers and therefore could no

longer see patients. It ceased operations in or about December 2019.

Medicare and Urine Drug Testing

     12. A “health care benefit program” is defined as “any public or

private plan to contract, affecting commerce, under which any medical

benefit, item, or service is provided to any individual, and includes any

individual or entity who is providing a medical benefit, item, or service

for which payment may be made under the plan or contract.” Title 18,

United States Code, Section 24(b). In this case, the Medicare Program

falls under the definition of a “health care benefit program.”

     13. The Medicare Program (“Medicare”) is a federally funded

health care program generally providing benefits to people aged 65 or

older, younger people with disabilities, and people with end stage renal

disease. Medicare is administered by the Centers for Medicare &

Medicaid Services (CMS), a federal agency within the Department of

Health and Human Services (HHS). Individuals who receive Medicare

benefits are referred to as Medicare “beneficiaries.”

     14. Medicare has four parts: hospital insurance (Part A), medical

insurance (Part B), Medicare Advantage (Part C), and prescription drug
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benefits (Part D). Medicare Part B helps to pay the cost of medically

necessary physician office services, medical equipment and supplies,

and other health services and supplies not paid by Part A.

     15. Medicare also covers clinical laboratory services, including

urine drug testing (UDT), under Part B. Physicians use UDT to detect

the presence or absence of drugs or to identify specific drugs in urine

samples. Drug testing is the process of using a biological sample—

usually urine or blood—to detect the presence or absence of a drug or its

metabolites in the body. Generally, there are two types of drug testing

services: (1) presumptive testing and (2) definitive testing. Presumptive

drug testing provides a negative, positive, or numerical result

indicating the presence or absence of drugs or drug classes. Definitive

drug testing identifies specific medications, illicit substances, and

metabolites and reports the results in concentrations of specific drugs

within a drug class.

     16. Medicare requires that drug testing services be ordered and

testing results be used by the physician or qualified nonphysician

practitioner who is treating the beneficiary. Clinical laboratories may

provide drug testing services and submit Medicare Part B claims to one
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of the seven Medicare Administrative Contractors (MACs), based on

jurisdiction, for those services. Medicare Administrative Contractors

(MACs) process Medicare claims and develop Local Coverage

Determinations (LCDs). An LCD is a coverage decision for a service or

item within a MAC’s jurisdiction and made in accordance with section

1862(a)(1)(A) of the Social Security Act.

     17. Novitas Solutions, Inc. (Novitas) is the MAC that administers

the Medicare Part B program for claims arising in the Commonwealth

of Pennsylvania. CMS contracts with Novitas to receive, adjudicate,

process, and pay certain Part B claims.

     18. For presumptive drug testing services, laboratories use one of

three CPT11 codes (80305, 80306, and 80307), depending on the level of

complexity of the test. For definitive drug testing services, laboratories

use one of five Healthcare Common Procedure Coding System (HCPCS)

codes (G0480, G0481, G0482, G0483, and G0659), which generally are

dependent on the number of drug classes, including metabolites, that

are tested.

     19. CMS requires individuals and entities, including clinics/group

practices, that wish to provide medical services to individuals enrolled
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in Medicare to complete the CMS-855. By becoming a participating

provider in Medicare, enrolled providers agree to abide by the policies

and procedures, rules, and regulations governing reimbursement. To

receive Medicare funds, enrolled providers, together with their

authorized agents, employees, and contractors, are required to abide by

all provisions of the Social Security Act, the regulations promulgated

under the Act, and applicable policies, procedures, rules, and

regulations issued by CMS and its authorized agents and contractors.

Health care providers are given and provided with online access to

Medicare manuals and services bulletins describing proper billing

procedures and billing rules and regulations.

     20. Health care providers may only submit claims to Medicare for

medically reasonable and medically necessary services and supplies.

Medicare defines “medically necessary” as health care services or

supplies needed to diagnose or treat an illness, injury, condition,

disease, or its symptoms and that meet accepted standards of medicine.

Services must meet specific medical necessity requirements in the

statute, regulations, manuals, and specific medical necessity criteria



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defined by National Coverage Determinations (NCDs) and LCDs, if any

apply to the reported service.

     21. Under Novitas LCD L35006 (“Controlled Substance

Monitoring and Drugs of Abuse Testing”), “[t]reatment for patients on

chronic opioid therapy (COT)” is considered one of the “Covered

Indications,” or permissible purposes, for the use of urine drug testing.

UDT may also be used as part of treatment for opioid use disorder,

including for patients receiving SUBOXONE®. SUBOXONE® is a

prescription medicine combining buprenorphine and naloxone used to

treat adults who are addicted to or dependent on opioid drugs, whether

prescription or illegal. Buprenorphine works partially like an opioid,

but the effect is weaker than opioids such as heroin and methadone. It

also has a “ceiling effect,” which reduces the risk of misuse, dependency,

and side effects. Buprenorphine lowers the effects of opioid withdrawal

symptoms and cravings, which helps people who take the medication

abstain from other opioids. Naloxone is a medicine that rapidly reverses

an opioid overdose.

     22. When dealing with patients on chronic opioid therapy, LCD

L35006 states, “[a] physician who is writing prescriptions for
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medications to treat chronic pain can manage a patient better if the

physician knows whether the patient is consuming another medication

or substance, which could suggest the possibility of [substance use

disorder] or lead to drug-drug interactions. Additionally, UDT may help

the physician monitor for medication adherence, efficacy, side effects,

and patient safety in general.” In other words, drug testing on patients

who regularly take opioid prescription medications can help to

determine whether those patients are taking their medications

appropriately, diverting their medications to other users, taking street

drugs in addition to their prescription opioid medications, or are at risk

of potentially dangerous drug interactions, among other things.

     23. LCD L35006 also says that both presumptive and definitive

UDT orders “should be individualized based on clinical history and risk

assessment, and must be documented in the medical record.” The

medical necessity guidance says that “[c]riteria to establish medical

necessity for drug testing must be based on patient-specific elements

identified during the clinical assessment, and documented by the

clinician in the patient’s medical record and minimally include the

following elements: Patient history, physical examination and previous
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laboratory findings; Current treatment plan; Prescribed medication(s);

and Risk assessment plan.”

      24. LCD L35006 also specifies that a “blanket order” is a “[t]est

request that is not for a specific patient; rather, it is an identical order

for all patients in a clinician’s practice without individualized decision

making at every visit.” Blanket orders are listed in this LCD under

“Non-Covered Services.” A non-covered service in medical billing means

one that is not covered by government and private payers, and under

Medicare that includes medically unreasonable and unnecessary

services and supplies.

      25. The LCD defines “Reflex Testing” as “Laboratory testing that

is performed reflexively after initial test results to identify further

diagnostic information essential to patient care.” The LCD’s section on

Non-Covered Services states: “Reflex definitive UDT is not reasonable

and necessary when presumptive testing is performed at point of care

because the clinician may have sufficient information to manage the

patient. If the clinician is not satisfied, he/she must determine the

clinical appropriateness of and order specific subsequent definitive

testing (e.g., the patient admits to using a particular drug, or the IA
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cut-off is set at such a point that is sufficiently low that the physician is

satisfied with the presumptive test result).”

     26. The section on Non-Covered Services also states, “Routine

standing orders for all patients in a physician’s practice are not

reasonable and necessary.” A standing order is defined as a “[t]est

request for a specific patient representing repetitive testing to monitor

a condition or disease for a limited number of sequential visits.”



                       STATUTORY ALLEGATION

     27. Paragraphs 1 through 26 are incorporated here.

     28. From in or around July 2017 until in or about December 2019,

in York County, within the Middle District of Pennsylvania, and

elsewhere, the defendant,

                         FLORENTINA MAYKO

did knowingly conspire and agree, together and with other persons both

known and unknown to the United States, to commit offenses against

the United States and to defraud the United States, that is:

To knowingly and willfully execute and attempt to execute a scheme

and artifice to defraud Medicare, a health care benefit program as
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defined in Title 18, United States Code, Section 24(b), in connection

with the payment for health care benefits, items, and services, in

violation of Title 18, United States Code, Section 1347,

           MANNER AND MEANS OF THE CONSPIRACY

     29. PHYSICIAN 1 told PMY OWNER in or around 2016 that

every patient of PMY would receive two urine drug tests—both a

presumptive test and a definitive test—at every office monthly visit.

PHYSICIAN 1 told PMY OWNER that this practice would be necessary

to make the business sufficiently profitable. PMY OWNER agreed to

implement this practice.

     30. PMY operated a drug testing laboratory that was collocated

with its Altoona office location and was previously part of PRACTICE

GROUP 1. PMY’s practice was to send its patients’ urine samples to its

own testing lab for UDT, rather than to private clinical laboratory

companies, whenever possible. As a result, PMY regularly received

Medicare Part B payments for its patients’ office visits and for their

UDTs. From around mid-2017 to the end of 2019, PMY submitted

claims for payment to Medicare totaling over $10 million just for UDTs.



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     31. From about 2016 to 2019, PMY had a relationship with a

company (“BILLING COMPANY”) that was responsible for submitting

bills to medical insurance companies, including Medicare, on its behalf.

BILLING COMPANY kept data showing the number of UDTs that were

submitted for payment broken down by procedure code.

     32. As CEO of PMY, FLORENTINA MAYKO regularly requested

and received updates from BILLING COMPANY on the number of

UDTs ordered each month and the insurance billing associated with

those UDTs.

     33. From early 2017 to mid-2017, the number of UDTs—both

presumptive and definitive—for which PMY sought payment from

Medicare grew substantially. In March 2017, there were approximately

500 UDTs submitted for payment under procedure code 80307, the

highest-level and most expensive presumptive UDT; approximately 300

UDTs were submitted for payment under procedure code G0483, the

highest-level and most expensive definitive UDT, which is comprised of

a panel of tests for 22 or more classes of drugs. In August 2017, there

were approximately 2,250 UDTs submitted for payment under



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procedure code 80307, and approximately 2,560 UDTs submitted for

reimbursement under procedure code G0483.

     34. Until about April 2019, G0483 was the only procedure code

that PMY ever used for definitive tests. Over the course of PMY’s

relationship with BILLING COMPANY, procedure code G0483 was

used for approximately 92% of all definitive UDTs submitted to

insurance companies, and procedure code 80307 was used for

approximately 99.8% of all presumptive UDTs submitted to insurance

companies.

     35. Each test under procedure code 80307 was billed to Medicare

for approximately $160 and, when covered, was paid at a rate of over

$70. Each test under procedure code G0483 was billed to Medicare for

approximately $500 and, when covered, was paid at a rate of over $240.

From around mid-2017 through the end of 2019, PMY received

Medicare payments for UDTs totaling over $4 million, a large portion of

which went to PMY OWNER and FLORENTINA MAYKO.

FLORENTINA MAYKO used significant proceeds from UDTs to

purchase investment properties.



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     36. PMY implemented a standard UDT billing practice by using a

form included in each patient file at every office visit. The medical

providers seeing patients received a form stating, “All Better Wellness

Center Altoona Clinic QUALITATIVE TESTING WITH REFLEXIVE

CONFIRMATION REQUISITION.” The provider’s name was also typed

in as the “REQUESTING PHYSICIAN.” In the section for “Test orders,”

there were two options: the first was “USE Custom Profile (1) Drugs of

Abuse Screen with Reflexive Confirmation”; the second option was

“Alternative Custom Profile.” The box for the first option was pre-

checked—meaning medical providers exercised no discretion, and

therefore for each patient a “screen” (i.e., presumptive test) and a

“reflexive confirmation” (i.e., confirmatory test) were ordered at each

and every visit.

     37. FLORENTINA MAYKO was aware of this UDT order form,

was responsible for making edits to the form, and ensured that medical

providers at PMY used the form at each visit.

     38. PMY OWNER and FLORENTINA MAYKO also took over

management of other medical practices, including a practice in New



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Cumberland, Pennsylvania, where S.M, a family medicine specialist,

worked.

     39. PMY OWNER and FLORENTINA MAYKO were repeatedly

confronted with information regarding the unlawful nature of the

company’s UDT billing practices. For instance, in an email on or about

July 29, 2017, S.M. sent PMY OWNER an email in which he

complained about the pressure from FLORENTINA MAYKO to see

more patients and bill patients for more lab services, including UDT.

S.M. expressed concerns about “ordering urine drug screens every visit

on all Suboxone patients just to generate income” because these were

“unnecessary tests” and “outside the standard of care.” S.M. also raised

the risk of “potentially having to pay back moneys for tests declared

unnecessary by an outside physician reviewer.”

     40. Approximately one month later, on or about August 28, 2017,

FLORENTINA MAYKO wrote to S.M.’s administrative assistant

asking, “Did you send urines to us for these pts [i.e., patients]?” The

assistant copied S.M. on the email and wrote back to FLORENTINA

MAYKO, “Urines were performed on these patients last month. . . .

Federal guidelines call for performing urine drug screens every 3 or 4
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months and even just once or twice a year on stable patients.” S.M.’s

assistant raised concerns about “unnecessary testing” with

FLORENTINA MAYKO in the same email.

     41. In August 2017, the number of definitive UDTs that PMY

billed under procedure code G0483 increased more than 50% from just

the previous month.

     42. Around the end of 2018, PMY OWNER and FLORENTINA

MAYKO entered into a joint venture to acquire management control of

PRACTICE GROUP 2. FLORENTINA MAYKO identified this

opportunity and brought it to PMY OWNER for his financial backing.

PMY OWNER and FLORENTINA MAYKO agreed with the physicians

who owned PRACTICE GROUP 2 that it would send urine samples to

PMY’s lab for testing. In connection with this joint venture, which

generated additional UDT billing, FLORENTINA MAYKO negotiated a

profit-sharing agreement with PMY OWNER.

     43. Starting around the end of 2018 and continuing until the time

that search warrants were executed at PMY’s various locations on or

about November 6, 2019, FLORENTINA MAYKO continued to enforce

PMY’s policy of billing for multiple urine tests at each patient visit
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despite increasingly frequent warning signs about their lack of medical

necessity.

     44. For example, on or about February 27, 2019, a representative

of BILLING COMPANY sent FLORENTINA MAYKO an email

summarizing a recent letter from one insurance company, stating that

the insurance company was “trying to monitor UDT testing for

necessity” and had accordingly instituted a “pre-payment audit.” On or

about March 2, 2019, FLORENTINA MAYKO wrote to the BILLING

COMPANY representative expressing concerns about falling income

despite “increasing business.”

     45. On or about July 31, 2019, the BILLING COMPANY

representative wrote to FLORENTINA MAYKO that the same issue

previously raised by the insurance company in the prior email was now

being raised by another company. The representative stated, “A

processes [sic] for someone to review the screens need to be set in place

at PMY to determine if a confirmation is necessary.” In response to

warning signs of this kind, PMY began to down-code some of its

confirmatory tests to a lower billing code such as G0482, but it did not



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alter its practice of requiring both presumptive screens and reflexive

confirmations at every patient visit.

      46. In or around mid-2019, BILLING COMPANY held an in-

person meeting with PMY OWNER and FLORENTINA MAYKO. At

this meeting, a representative of BILLING COMPANY asked PMY

OWNER and FLORENTINA MAYKO what PMY intended to do about

its UDT practices in response to multiple insurance companies raising

questions about the medical necessity of PMY’s UDTs. With

FLORENTINA MAYKO present, PMY OWNER responded that

changing PMY’s practice of ordering multiple UDTs for each patient at

every office visit would put the company out of business. Following this

meeting, PMY continued to bill for multiple UDTs for each patient at

every office visit.

      47. After this meeting, PMY OWNER and FLORENTINA MAYKO

continued to explore opportunities to sell PMY to an acquiring company.

These efforts ceased around the time that search warrants were

executed at PMY’s various locations on or about November 6, 2019.

      48. On or about November 12, 2019, a PMY employee, acting

under the direction of FLORENTINA MAYKO, sent an email to staff
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containing a new UDT order form and informing medical providers that

they would have to manually select which tests to conduct because the

form was “no longer pre-populated.” PMY could not remain in business,

however, due a lack of medical providers willing to work there.

       All in violation of Title 18, United States Code, Section 1349.



THE UNITED STATES ATTORNEY FURTHER CHARGES:

                      FORFEITURE ALLEGATION

       The allegations contained in Count 1 of this Information are

hereby realleged and incorporated by reference for the purpose of

alleging forfeiture pursuant to Title 18, United States Code, Section

982.

       Pursuant to Title 18, United States Code, Section 982, upon

conviction of the offense in Count One of this Information, the

defendant,




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                           FLORENTINA MAYKO,

shall forfeit to the United States of America, pursuant to Title 18,

United States Code, Section 982, any property, real or personal,

involved in such offense, or any property traceable to such property,

including but not limited to:

           a.    A condominium located at 204 33rd St, #40502, Ocean

                 City, Maryland 21842 more fully described as:

                 “All that property lying and being situate in the Town
                 of Ocean City, in the Tenth Tax District of Worcester
                 County, Maryland, and being more particularly
                 designated and distinguished as Condominium Unit
                 No. 405, Phase Two in “Jamaica Bay Condominium”,
                 as shown on the Condominium Plats and recorded
                 among the Land Records of Worcester County,
                 Maryland in Plat Book W.C.L, No. 113, folio 17, et.
                 seq., as amended to date; together with an undivided
                 percentage interest in the common elements and in the
                 common expenses and common profits of the
                 condominium as more particularly referred to and
                 specified with respect to the unit in the Master Deed or
                 Declaration and as shown on the Condominium Plats
                 as [t]herein described. Being one of the condominium
                 units mentioned in the Condominium Declaration of
                 Master Deed (including By-Laws) of the condominium,
                 dated July 21, 1987, and recorded among the Land
                 Records of Worcester County, Maryland, in Liber
                 W.C.L. No. 1341, folio 549, et. seq., as amended to date,
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         and as shown on the condominium plats aforesaid . . .
         Being the same property conveyed to F.C., by virtue of
         Deed from M.J.B. and M.B., dated January 16, 2004,
         recorded January 20, 2004, among the Land Records of
         Worcester County, Maryland, in Liber 3996, folio 108.

         To Have and To Hold the said condominium unit
         above-described and mentioned, and hereby intended
         to be conveyed, together with the rights, privileges,
         appurtenances and advantages thereto belonging or
         appertaining unto and to the proper use and benefit of
         the said Aaron Mayko and FLORENTINA MAYKO, as
         tenants by the entirety, their ensigns, the survivor of
         them, and the survivor’s personal representatives,
         heirs and assigns in FEE SIMPLE.”;

   b.    A condominium located at 2001 S Ocean Blvd, #903,

         Myrtle Beach, SC 29577 more fully described as:

         “DWELLING No. 903 of Bluewater Villas, Phase III, a
         Horizontal Property Regime established by Master
         Deed dated May 26, 1983, and recorded in Deed Book
         800 at Page 326, records of Horry County, South
         Carolina. Subject to all of the provisions of the
         aforesaid Master Deed and Exhibits and Amendments
         thereto. TOGETHER with all of the appurtenances
         thereto according to said Master Deed, and Exhibits
         and Amendments thereto, and the Grantees assume
         and agree to observe and perform their obligations
         under said Master Deed, Exhibits and Amendments
         thereto, including, but not limited to, payment of
         assessments for the maintenance and operation of the
         dwelling and condominium. AND SUBJECT to the
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         provisions of the By-Laws of Bluewater Villas
         Homeowners Association, Inc., and to all other
         reservations and restrictions of record, easements,
         zoning ordinances, and rights of way record, including
         those set out on the recorded map.
         … This being the identical property conveyed to W.E.G.
         and D.L.G. by Deed of K.O. a/k/a K.O. and M.O., dated
         April 5, 2017 and recorded April 5, 2017 in Deed Book
         3999 at Page 3066, in the Office of the Register of
         deeds for Horry County, South Carolina.”;

         and

   c.    A condominium located at 1501 S Ocean Blvd, #844,

         Myrtle Beach, SC 29577 more fully described as:

         “…Unit 844 of Landmark Horizontal Property Regime
         established by Master Deed dated April 2, 2004 and
         recorded April 2, 2004 in Deed Book 2717 at Page 529
         and amended by First Amendment to Master Deed
         dated June 27, 2005 and recorded June 30, 2005 in
         Deed Book 2935 at Page 849, and all Exhibits and
         Amendments thereto (herein collectively the “Master
         Deed”), records of Horry County, South Carolina.

         SUBJECT to all of the provisions of the aforesaid
         Master Deed and all Exhibits and Amendments
         thereto.

         AND SUBJECT to all other restrictions, reservations,
         easements and right of way, including those as may be
         set out on the recorded map.
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                TOGETHER with all of the appurtenances thereto
                according to said Master Deed, Exhibits and
                Amendments thereto, and the Grantee assumes and
                agrees to observe and perform its obligations under the
                Master Deed, Exhibits and Amendments thereto,
                including but not limited to the payment of the
                assessments for the maintenance and operation of the
                dwelling and condominium. AND SUBJECT to the
                provisions and By-Laws of Landmark Homeowner’s
                Association, Inc.

                … This being the identical property conveyed to L.I.S.
                and I.C.S. from J.E.S. and S.J.S. by Deed dated
                February 14, 2018 and recorded February 16, 2018 in
                Deed Book 4083, at Page 1912, Office of the Register of
                Deeds of Horry County South Carolina. …

                TO HAVE AND TO HOLD all and singular the
                premises before mentioned unto the said and
                FLORENTINA MAYKO and Aaron Matthew Mayko,
                as joint tenants with right of survivorship and not as
                tenants in common, their heirs and assigns, forever, in
                fee simple.”

     If any of the property described above, as a result of any act or

omission of the defendant:

          a.    cannot be located upon the exercise of due diligence;

          b.    has been transferred or sold to, or deposited with, a

                third party;
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           c.    has been placed beyond the jurisdiction of the court;

           d.    has been substantially diminished in value; or

           e.    has been commingled with other property which cannot

                 be divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute

property pursuant to Title 21, United States Code, Section 853(p).

     All pursuant to 18 U.S.C. § 982.



GERARD M. KARAM
United States Attorney


_________________________                _________________________
                                          May 9, 2023
RAVI ROMEL SHARMA                        Date
Assistant United States Attorney




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